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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,                               Case No. 19-cv-2184-TJK

                       Plaintiff
                                                         PLAINTIFF’S RESPONSE
                       v.                                TO AMICI

 FACEBOOK, Inc.,
 a corporation,
                       Defendant.



       Pursuant to this Court’s December 10, 2019 order, Plaintiff, the United States of

America, respectfully files this response to the three amicus briefs in this matter: (1) the

brief filed by the Electronic Privacy Information Center (“EPIC”) (ECF No. 26); (2) the

brief filed jointly by Public Citizen, the Campaign for a Commercial-Free Childhood,

Common Sense Media, and United States Public Interest Research Group (hereinafter

“Public Citizen”) (ECF No. 25); and (3) the brief filed by the Center for the Legalization

of Privacy (the “Center”) (ECF No. 21).

                                    ARGUMENT

       The amici raise some broad and conceptually interesting policy questions about

data-privacy law in the United States generally. However, none of that impacts the only

issue actually before this Court—the narrow and straightforward question of whether to

enter a proposed consent settlement of a government enforcement action. That

determination is governed by a “limited” and highly deferential standard of review, under

which the Stipulated Order comfortably passes muster, without regard to the hypothetical


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case amici want the court to now consider. See In re Idaho Conservation League, 811

F.3d 502, 515 (D.C. Cir. 2016) (the court’s “duty is only to satisfy itself of the

settlement’s overall fairness to beneficiaries and consistency with the public interest”

without “inquir[ing] into the precise legal rights of the parties nor reach[ing] and

resolv[ing] the merits of the claims or controversy”).

        The proposed settlement brings definite and substantial relief to consumers as

soon as possible and avoids years of litigation that would postpone the possibility of any

relief for years. That consideration alone confirms that the proposed settlement “is well

within the reaches of the public interest.” See United States v. W. Elec. Co., 900 F.2d

283, 309 (D.C. Cir. 1990) (the court’s function here “is not to determine whether the

resulting array of rights and liabilities is the one that will best serve society, but only to

confirm that the resulting settlement is within the reaches of the public interest”

(emphasis in original)). The Court should accordingly decline amici’s improper

invitations to second-guess decisions the Federal Trade Commission and Department of

Justice made regarding which claims to bring, which claims not to bring, when to settle

litigation, and on what terms to settle—all of which are discretionary decisions reserved

to the judgment of the executive branch.

        1. The Proposed Resolution Is in the Public Interest and Should Be Entered
           Without Delay

        “The balancing of competing social and political interests affected by a proposed

. . . consent decree must be left, in the first instance, to the discretion of the Attorney

General. The court’s role in protecting the public interest is one of insuring that the

government has not breached its duty to the public in consenting to the decree.” United



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States v. Bechtel Corp., 648 F.2d 660, 666 (9th Cir. 1981). The terms of the settlement

at issue advance the public interest by protecting consumers from Facebook’s conduct

while not unduly stifling innovation and commerce. The proposed settlement has two

main components: a civil-penalty award and injunctive relief imposing new compliance

terms on Facebook. The $5 billion civil penalty is the largest civil penalty ever obtained

by the United States on behalf of the FTC—dwarfing the previous record of $168

million.1 United States v. Dish Network, LLC, 256 F. Supp. 3d 810, 991 (C.D. Ill. 2017).

       The proposed settlement imposes injunctive and fencing-in relief specifically

designed to prevent future misuse of data and requires fundamental changes to

Facebook’s data-privacy practices. Among other things, the proposed Amended FTC

Administrative Order (“Amended FTC Order”) requires Facebook to consider and

document privacy risks before implementing any new or modified practices that

implicate consumer data, implement safeguards to control for those risks, and justify why

it did not implement other known safeguards, such as collecting less consumer data.

Facebook must share these privacy reviews with the CEO, a third-party assessor, and,

upon request, the FTC and Department of Justice. Facebook also must implement new

protections for consumer data before sharing it with third-party app developers.

Additionally, Facebook must extend the Amended FTC Order’s privacy protections to

any Facebook-affiliated entity that shares consumers’ personal information, including

WhatsApp.




1
 Indeed, the penalty here for Facebook’s privacy violations are on par with penalties
assessed for the Deepwater Horizon disaster ($5.5 billion civil penalty) and the
Countrywide mortgage fraud scandal ($5 billion civil penalty).

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        The Amended FTC Order also establishes strong new mechanisms, from the

corporate board down, to ensure that Facebook executives are held accountable for the

decisions they make about privacy, and that those decisions are subject to meaningful

oversight. For instance, the order requires Facebook to restructure its board of directors

to create a new independent board committee with specific authority and responsibility

for overseeing Facebook’s privacy practices. Additionally, the new order requires

Facebook, among other things, to:

       Hold Facebook management more directly accountable for Facebook’s privacy

        program by requiring Facebook’s CEO (and his successors) to certify compliance

        every quarter and subjecting the CEO personally to potential civil and criminal

        penalties for false certifications;

       Cooperate with a stronger and more independent assessor, who must

        independently judge the effectiveness of Facebook’s privacy program and privacy

        controls—and not rely solely on management assertions—and who can only be

        removed with the consent of the FTC;

       Create a comprehensive data-security program, which must include encrypting

        user passwords and not asking for passwords to other third-party accounts when

        people sign up for Facebook accounts;

       Implement strict employee-access controls to user information;

       Not use phone numbers it received specifically for security purposes for

        advertising;




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        Implement privacy protections related to facial recognition technology, including

         obtaining users’ affirmative consent before using facial recognition technology in

         a manner that materially exceeds prior disclosures to users; and

        Not misrepresent the purposes for which it uses personal information (in addition

         to existing prohibitions about the collection or disclosure of such information).

         Given the extraordinary monetary relief and foundational privacy reforms

contained in the proposed resolution of this case, this settlement more than satisfies the

relevant standard of being within “the reaches of the public interest,” W. Elec. Co., 900

F.2d at 309. Indeed, the measures in the Amended FTC Order provide consumers with

substantial privacy protections they do not currently enjoy. These measures not only

address Facebook’s past misconduct, but also introduce a sea change in how Facebook

approaches privacy decisions by requiring it to consider privacy at every stage of its

operations, and providing unprecedented transparency and accountability for those

decisions. Cf. United States v. Archer- Daniels-Midland Co., 272 F. Supp. 2d 1, 6

(D.D.C. 2003) (“A district court must accord due respect to the government’s prediction

as to the effect of proposed remedies, its perception of the market structure, and its view

of the nature of the case.”).

         The amici pay lip service to the standard this Court should use to evaluate the

consent settlement, but they apply that standard in a fundamentally incorrect, unworkable

way. One of the most significant problems is that the amici essentially invite this Court

to make de novo factual findings about the conduct in the United States’ filings, about

other administrative complaints the amici have filed with the FTC, about other claims the

amici suggest should be brought, and about other purported Facebook misconduct. EPIC

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Brief at 10-11; Public Citizen Brief at 8-16. The only way for the Court to do this would

be to engage in exactly the type of inquiry that the D.C. Circuit has repeatedly eschewed

when approving consent settlements. In re Idaho Conservation League, 811 F.3d at 515

(the Court “need not inquire into the precise legal rights of the parties nor reach and

resolve the merits of the claims or controversy”); W. Elec. Co., 900 F.2d at 309 (D.C. Cir.

1990) (the district court’s function in deciding whether to approve a consent decree “is

not to determine whether the resulting array of rights and liabilities is the one that will

best serve society”).

       Amici criticize the government’s citations to the significant deference owed to the

government in the entry of consent decrees—a proposition drawn from cases such as

Idaho Conservation League, supra, and Citizens for a Better Environment v. Gorsuch,

718 F.2d 1117 (D.C. Cir. 1983). The government does not suggest that it is entitled to a

rubber stamp from this Court. Rather, the point is that both the size of the monetary

relief and scope of injunctive relief plainly meet the standard—and, just as importantly,

that amici’s insistences that the Court explore all aspects of Facebook’s behavior and

demand more pounds of flesh are exactly the types of arguments rejected in Citizens for a

Better Environment, 718 F.2d at 1126 (“The court’s duty when passing upon a settlement

agreement is fundamentally different from its duty in trying a case on the merits . . . . [I]t

is precisely the desire to avoid a protracted examination of the parties’ legal rights which

underlies consent decrees.”), and harshly criticized in SEC v. Citigroup Global Markets,

Inc., 752 F.3d 285, 297 (2d Cir. 2014) (“What the district court may not do is find the

public interest disserved based on its disagreement with the [agency’s] decisions on

discretionary matters of policy, such as deciding to settle without requiring an admission


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of liability.”). Indeed, “[t]he job of determining whether the proposed [agency] consent

decree best serves the public interest . . . rests squarely with the [agency], and its decision

merits significant deference.” Id. The wisdom of this deference is particularly evident in

this case, where the amici’s own views on what a proper resolution looks like have

shifted. EPIC and other amici originally told the FTC that a $2 billion civil penalty

would be appropriate,2 but they now tell this Court that a $5 billion civil penalty is “not

sufficient.”

        In any event, the penalty amount here is far from a slap on the wrist. In United

States v. Dish Network, for example, the largest civil penalty obtained in an FTC matter,

the court found more than 95 million Telemarketing Sales Rule (“TSR”) and state law

do-not-call violations that carried maximum penalties and statutory damages of $783

billion. After noting that Dish was culpable, had not taken responsibility for its actions,

and had a history of not complying with do-not-call laws, the court assessed a $280

million total fine—approximately 20 percent of Dish’s after-tax profits. The court

reasoned that the amount represented “a significant penalty” for the defendant’s

violations “over years and years of careless and reckless conduct,” but that it also was

constitutionally appropriate and consistent with due process. See Dish Network, 256 F.

Supp. 3d at 991; see also United States v. Reader’s Digest Ass’n, Inc., 662 F.2d 955, 959-

60 (3d Cir. 1981) (affirming $1,750,000 civil penalty for 17,940,521 violations of FTC




2
  https://epic.org/privacy/facebook/2011-consent-order/US-NGOs-to-FTC-re-FB-Jan-
2019.pdf. The letter to the FTC was signed by EPIC, Color of Change, Common Sense
Media, Constitutional Alliance, Government Accountability Project, Open Market
Institute, Privacy Times, Patient Privacy Rights, and Stop Online Violence Against
Women.

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consent order, or approximately $0.10 per violation). Here, the $5 billion penalty is 23

percent of Facebook’s after-tax profits for 2018—higher than the result achieved after

hard-fought litigation in Dish Network, but would be obtained without a decade of

litigation and its attendant risks.

        Moreover, EPIC’s brief reveals that its real agenda is to force the FTC to impose

substantive new legal requirements on the tech industry, and to break apart Facebook.

EPIC Brief at 19 (“EPIC has repeatedly urged the FTC to incorporate [EPIC’s Code of

Fair Information Practices] into the Commission’s Consent Decrees.”), 20 (“[T]he FTC

should require Facebook to unwind the acquisition of both WhatsApp and Instagram.”).

Neither of these results can be squared with a resolution that is reasonably tailored to this

targeted consumer-protection enforcement matter, and such measures would reach well

beyond the parameters of the complaint that the Court would be resolving.

        The amici’s opinions about their preferred results also illustrate an internal

contradiction in their own arguments. EPIC’s brief acknowledges that evaluation of a

consent settlement should include assessing “the possible risks involved in litigation if

the settlement is not approved,” EPIC Brief at 8, but both EPIC and Public Citizen then

assume without any basis that the enforcement actions they want the government to bring

would immediately succeed and lead to historic relief surpassing the already historic

terms reached by the parties consensually. A key virtue of the government’s proposed

resolution here is that this consent settlement would bring definite and substantial relief

to consumers as soon as possible, as opposed to engaging in years of litigation and

postponing the possibility of any relief for years. The United States has recent

experience with this: it sued Dish Network for violating the FTC’s Telemarketing Sales


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Rule in 2009, and won $168 million at trial in 2017, but—due to a pending appeal before

the Seventh Circuit—has still not recovered the civil penalties over ten years later. And,

in addition to bringing definite benefits to consumers now, settlement also saves the

government the time and resources—and avoids the litigation risks—that any contested

case entails.

        At base, the amici simply disagree with a discretionary enforcement decision and

seek to judicially impose a different decision to advance their preferred policy outcome.

But the law has been clear for decades that private entities do not possess a veto over a

federal agency’s enforcement decisions. See West v. Lynch, 845 F.3d 1228, 1237 (D.C.

Cir. 2017) (“Courts do not lightly speculate how independent actors not before them

might exercise their broad and legitimate discretion . . . especially when the independent

actors are federal prosecutors.”); Ass’n of Irritated Residents v. E.P.A., 494 F.3d 1027,

1031 (D.C. Cir. 2007) (“Although the Supreme Court’s decision in Chaney applies

directly to agency decisions not to enforce a statute, we have also applied it to an

agency’s decision to settle an enforcement action.”) (citing Heckler v. Chaney, 470 U.S.

821, 838 (1985)).

        In fact, the D.C. Circuit has “narrowly construed a court’s public interest

authority” to review proposed consent decrees and specifically held that a consent order

should be reviewed by this Court in a manner that “avoid[s] encroaching on the

Executive’s core discretion over enforcement decisions.” United States v. Fokker Servs.

B.V., 818 F.3d 733, 744 (D.C. Cir. 2016). EPIC’s and Public Citizen’s briefs invite just

such a substantial encroachment on the executive branch’s enforcement decisions.

Beyond hyperbole and misstatements of the record, the amici fail to explain how a


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monumental civil penalty and fundamental corporate privacy reforms do not

meaningfully address the misconduct alleged. The government has decided after robust

investigation and debate that this resolution is the appropriate way to handle Facebook’s

violations of the FTC’s 2012 Order. That determination is reasonable, and the Court

should enter the proposed resolution without delay.

       2. The Amici Mischaracterize the Proposed Release, Which Is a Typical
          Feature of an Enforcement Action

       In addition to the unprecedented civil penalty and injunctive relief, the proposed

settlement includes release language to which several amici raise objections. The amici’s

arguments on this topic substantially misinterpret the release. Releases are a common

practice in settlements, and many Department of Justice and federal agency settlements

have released companies, and their officers and directors, from liability for all conduct

alleged (and similar conduct) under the applicable law.3

       The proposed settlement here has two separate release provisions: (1) the

Stipulated Order releases all claims for violations of the 2012 FTC Order before June 12,

2019; and (2) it releases consumer protection-related claims under Section 5 of the FTC

Act that were known by the FTC before June 12, 2019. The amici’s objections to these

release provisions rest on a misunderstanding of their scope and operation.

       First, the amici claim the release would harm the public by extinguishing


3
  E.g., United States v. Chevron U.S.A., Inc., 380 F. Supp. 2d 1104, 1116 (N.D. Cal.
2005) (entering consent decree over amici objections to a release provision because,
among other things, “the release was granted in exchange” for relevant requirements in
the decree and because “when viewed in the context of the overall relief of the consent
decree,” even an area of concern related to the release “is not enough to merit rejection of
the Consent Decree as a whole”).


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Facebook-related claims amici raised in petitions and notices to the FTC, as well as

thousands of existing consumer complaints in the FTC’s Consumer Sentinel database.

Although this factual matter is not relevant to the questions before the Court, FTC staff

have concluded that the amici vastly overstate the content and force of these submissions.

More importantly, the proposed settlement does not in fact release any actual violations

of the FTC Act beyond those discussed in the Complaint. This is because, after extensive

investigation and review of submitted consumer complaints, the FTC knew of no other

cognizable violations that occurred before June 12, 2019.4 Therefore, if the FTC were

subsequently to discover any deceptive or unfair practices, whether that practice occurred

before or after June 12, 2019, it could bring an action to address that issue.

       Second, the proposed settlement’s release of known and unknown violations of

the 2012 Order is essentially coextensive with the doctrine of res judicata, or claim

preclusion. Generally, the doctrine of res judicata releases all claims, known and

unknown, that could have been brought in an order-enforcement action. See Apotex, Inc.

v. Food & Drug Admin., 393 F.3d 210, 218 (D.C. Cir. 2004) (“Under res judicata, a final

judgment on the merits of an action precludes the parties or their privies from relitigating

issues that were or could have been raised in that action.”). Because the FTC

investigated all aspects of Facebook’s conduct under the 2012 Order since it took effect,




4
  See Statement of Chairman Joe Simons and Commissioners Noah Joshua Phillips and
Christine S. Wilson Regarding the Matter of Facebook, Inc., at 7-8 (July 24, 2019),
available at https://www.ftc.gov/system/files/documents/public_statements/
1536946/092_3184_facebook_majority_statement_7-24-19.pdf. In particular, while not
relevant, the vast majority of submitted consumer complaints involving Facebook did not
even address a privacy issue or implicate the 2012 Order, and none known to the FTC
raised a potential issue not covered by the proposed settlement.

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any order enforcement action, whether concluded by settlement or a victory in court,

would almost certainly have released all known and unknown claims for violations of the

order arising before the enforcement action. See Ananiev v. Freitas, 37 F. Supp. 3d 297,

310 (D.D.C. 2014). The fact that the release provision is set forth explicitly in the

Stipulated Order does not change the legal reality that such a release is not only common,

but also generally prescribed by res judicata principles.

       3. An Amended FTC Administrative Order Does Not Require Public
          Comment

       EPIC incorrectly contends that the FTC “sidestepped” its own regulations in

approving the settlement in this case. EPIC Brief at 22-23. The FTC is not required to

seek public comment when it decides to modify an administrative order under its rules of

practice.

       To support its argument, EPIC relies on 16 C.F.R. § 2.34(c), which requires the

FTC to seek public comment on a consent order—i.e., an agreement to settle an

administrative complaint, see 16 C.F.R. § 2.31. However, the FTC’s modification of its

existing orders is governed by 16 C.F.R. § 3.72, not § 2.34(c). In marked contrast to 16

C.F.R. § 2.34(c), § 3.72 has no public-comment requirement. In fact, it explicitly states

that “[w]henever an order to show cause is not opposed . . . the Commission, in its

discretion, may decide the matter . . . .” 16 C.F.R. § 3.72(b)(2) (emphasis added); see

United States v. Approximately 64,695 Pounds of Shark Fins, 520 F.3d 976, 983 (9th Cir.

2008) (“Where an agency includes language in one section of the regulation and omits it

in another, it is reasonable to presume that the agency acted intentionally in forgoing the

language.”). And EPIC does not identify any statute or other law that requires the United



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States—the party bringing this action before this Court, see 15 U.S.C. § 56(a)—to

conduct notice and comment before settling an FTC Act enforcement action.5

       4. The Proposed Stipulated Order and Amended FTC Administrative
          Order Do Not Raise Fourth Amendment Concerns and Comply With the
          Fourth Amendment

       The Center’s brief is devoted to the incorrect argument that the Stipulated Order

and Amended FTC Order raise Fourth Amendment concerns. There are numerous

problems with this argument, including that: (1) the Center itself recognizes that current

law forecloses its arguments; (2) neither order gives the government access to Fourth

Amendment-protected information; and (3) in any event, the orders comply with relevant

Fourth Amendment administrative precedent.

       As discussed supra and in the government’s previous filings, this Court’s review

of the proposed consent judgment is deferential. The Center’s brief does not

meaningfully reach the legal question before the Court and does not offer the Court any

specific legal precedent suggesting that its speculative concerns warrant rejecting the

settlement. On this ground alone, the Court could decline to consider the Center’s brief.

       But even if the Court were to consider the Center’s arguments on their merits, it

should reject those arguments because the Fourth Amendment does not protect the data

that Facebook users voluntarily share with Facebook—a point repeatedly recognized by

the Center. Brief at 11 (recognizing that the Center’s position is more aligned with

Supreme Court dissents than holdings); see also id. at 12-16. In fact, the D.C. Circuit




5
  EPIC also argues that, in lieu of a public-comment period, this Court should consider its
comments on the Stipulated Order in this proceeding. EPIC Amicus Brief at 22-23. That
is exactly what the Court is doing, without objection from the United States.

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recently held that Facebook users lack a “reasonable expectation of privacy” in the

Facebook content that they voluntarily post on Facebook. Palmieri v. United States, 896

F.3d 579, 588 (D.C. Cir. 2018) (“Obtaining . . . information [a person] knowingly and

voluntarily shared with his Facebook friends is not a [Fourth Amendment] search.”).

       As to the Center’s suggestions that the Fourth Amendment should someday cover

the content at issue, the government respectfully declines to engage on the larger policy

concerns the Center’s amicus brief expresses. This is a civil-penalty matter referred to

the Attorney General by the FTC pursuant to 15 U.S.C. § 56(a), and it is therefore

cabined to the circumstances of this specific case. Neither the FTC, the Department of

Justice, nor the Court should use this case to legislate Fourth Amendment rules.

       Finally, the government strongly disagrees with the Center’s characterization of

the Amended FTC Order’s recordkeeping provisions as some sort of Trojan horse

through which the government intends to acquire and use Facebook user data for

undisclosed purposes. The recordkeeping provisions are familiar parts of agency

enforcement actions and are intended to ensure ongoing compliance with the order.

United States Dep’t of Justice v. Daniel Chapter One, 89 F. Supp. 3d 132, 144 (D.D.C.

2015) (collecting cases and noting that “courts may order record-keeping and monitoring

to ensure compliance with a permanent injunction”). For example, the Amended FTC

Order makes sure that Facebook retains documents related to its compliance with the

order, ECF No. 4-1 at 19-20, and it, in conjunction with the Stipulated Order, gives the

FTC and the Department of Justice the right to obtain information related to Facebook’s

privacy practices and its compliance with the order, id. at 20. But there is nothing in the




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Amended FTC Order that requires Facebook to provide any information about any

specific user to the government.

       The Center’s suggestions to the contrary are incorrect speculation. It argues that a

provision requiring Facebook to create reports about its compliance with the order and to

maintain relevant documents might deliver user data—such as Facebook users’ telephone

numbers, Center Brief (ECF No. 21) at 3—to the government. The first problem with

these arguments is the basic fact that, for example, a Facebook user’s telephone number

is not protected by the Fourth Amendment. See Smith v. Maryland, 442 U.S. 735, 742

(1979) (“All telephone users realize that they must ‘convey’ phone numbers to the

telephone company.”); Palmieri, 896 F.3d at 588. But more importantly, multiple

recordkeeping and disclosure provisions have been in place since the FTC’s 2012

Facebook Order, and no disclosures of the sort the Center is concerned about have

occurred. If the threat the Center invokes were real, tangible, and serious enough to

counsel against entering the proposed consent settlement, that harm should have

manifested itself at some point within the last seven years. But it has not.

       More broadly, even if the Amended FTC Order could incorrectly be read to

require production of Fourth Amendment-protected information, the Supreme Court and

the D.C. Circuit have for nearly three-quarters of a century repeatedly rejected Fourth

Amendment challenges to agency orders requiring document productions—as long as the

agency’s requests are reasonable and related to the agency’s investigatory and

enforcement powers. E.g., Oklahoma Press Pub. Co. v. Walling, 327 U.S. 186, 205

(1946); SEC v. Arthur Young & Co., 584 F.2d 1018, 1023-24 (D.C. Cir. 1978) (“[I]t is

sufficient [for Fourth Amendment purposes] if the inquiry is within the authority of the


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agency, the demand is not too indefinite and the information sought is reasonably

relevant.”).

        The Center does not even cite this standard, let alone meaningfully engage with it.

The FTC is statutorily authorized to compel the production of “all . . . documentary

evidence relating to any matter under investigation.” 15 U.S.C. § 49. The provisions in

the Amended Order—which universally focus on compliance monitoring and

recordkeeping—are plainly within the agency’s jurisdiction and are reasonably relevant

to ensuring Facebook’s compliance with the order. Arthur Young & Co., 584 F.2d at

1024. The Amended Order therefore does not raise Fourth Amendment concerns.

                                     CONCLUSION

        The United States respectfully disagrees with the objections to the settlement

raised by the amici and requests that the Court enter the Proposed Stipulated Order

without delay.


DATED: January 24, 2020




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